                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                       Southern Division


UNITED STATES OF AMERICA,                                *

                                                         *
v.                                                                    Case No.: GJH-21-396
                                                         *
EUNICE BISONG NKONGHO,
                                                         *
          Defendant.
                                                         *
*         *      *        *        *        *        *       *        *        *        *        *        *

                                       MEMORANDUM OPINION

          On October 15, 2021, Eunice Bisong Nkongho was found guilty of conspiracy to commit

money laundering (Count I) and money laundering (Count II) in a jury trial. See ECF No. 33.

Pending before this Court is Nkongho’s Motion for Judgment of Acquittal for improper venue as

to Count II. See Fed. R. Crim. P. 29. No hearing is necessary. See Loc. R. 105.6 (D. Md. 2021).

For the following reasons, the Motion is denied.

     I.       BACKGROUND

          Nkongho was charged and convicted as a member of an extensive money laundering

conspiracy involving the sale of stolen electronics. As relevant to Count II, in September of

2016, Nkongho received cash from the proceeds of stolen electronics from another member of

the conspiracy. See ECF No. 1 at 6.1 In October of 2016, Nkongho deposited $3,000 in cash into

a Bank of America account. Id. She made the deposit at a branch of Bank of America in

Lynwood, California. Id. The deposit was made into a bank account belonging to Troy Barbour,




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by that system.

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an individual who was in Maryland at the time. Id. Barbour later wired money to an account

located in Nigeria. Id.

          Nkongho was charged with money laundering and money laundering conspiracy in the

District of Maryland. See 18 U.S.C. §§ 1956(a), 1956(h). During the trial by jury, the

Government called Andrew Levy, a custodian of records at Bank of America, to testify about

out-of-state counter deposits. See ECF No. 16 at 1.2 During cross-examination, Levy agreed with

Nkongho that the deposit was “cash put into Bank of America outside the state of Maryland[,]”

that it was a “financial and money transaction that was conducted in California[,]” and that the

“transaction was completed once the $3,000 was deposited to Bank of America in California[.]”

ECF No. 19 at 6, 8.

          At the conclusion of the Government’s case-in-chief, Nkongho moved for a Judgment of

Acquittal as to Count II pursuant to Federal Rule of Criminal Procedure 29(a). Specifically, she

alleged that venue for Count II was improper in the District of Maryland because her conduct

happened solely in California. Relying on Levy’s testimony that the transaction was completed

once the deposit was made, Nkongho alleged that the crime did not occur in Maryland. This

Court reserved decision on the motion pursuant to Federal Rule of Criminal Procedure 29(b).

Nkongho was then found guilty of both conspiracy and money laundering.

    II.      STANDARD OF REVIEW

          “The Constitution provides that ‘[t]rial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.’” United States v. Collins, 372 F.3d 629, 632 (4th

Cir. 2004) (quoting U.S. Const. art. III, § 2, cl. 3). “When multiple counts are alleged in an

indictment, venue must be proper on each count. Venue on a count is proper only in a district in


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 As relevant here, out-of-state counter deposits are conducted when someone deposits money at a bank location in
one state, but the money is intended for an account located in another state. See ECF No. 19 at 5.

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which an essential conduct element of the offense took place. The burden is on the Government

to prove venue by a preponderance of the evidence.” United States v. Villarini, 238 F.3d 530,

533–34 (4th Cir. 2001). “Because proper venue is a constitutional right, waivers of venue rights

through failure to object should not readily be inferred.” United States v. Stewart, 256 F.3d 231,

238 (4th Cir. 2001). “[I]f an indictment properly alleges venue, but the proof at trial fails to

support the venue allegation, an objection to venue can be raised at the close of the evidence. . . .

When, however, the asserted venue defect is apparent on the face of the indictment, a defendant

does waive any objection if he fails to object prior to trial.” Collins, 372 F.3d 629 at 633.

   III.      DISCUSSION

              A. Timing

          As noted above, Nkongho raised the issue of venue for the first time at the close of the

Government’s case-in-chief. Thus, before turning to the merits of Nkongho’s argument, this

Court must determine whether the motion was timely. See Collins, 372 F.3d at 633 (“Defendants,

however, did not raise any objection to venue until the close of evidence in this case. As a result,

a question arises as to whether they have waived their objections to venue.”).

          Pursuant to Federal Rule of Criminal Procedure 12(b), a motion for improper venue

“must be raised by pretrial motion if the basis for the motion is then reasonably available and the

motion can be determined without a trial on the merits[.]” Fed. R. Crim. P. 12(b)(3)(A)(i).

However, “if an indictment properly alleges venue, but the proof at trial fails to support the

venue allegation, an objection to venue can be raised at the close of the evidence.” Collins, 372

F.3d at 633. “Indeed, a defendant does not waive venue unless the indictment clearly reveals [the

venue] defect but the defendant fails to object. When, however, the asserted venue defect is

apparent on the face of the indictment a defendant does waive any objection if he fails to object



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prior to trial.” Id. (internal quotations and citations omitted); see also United States v. Melia, 741

F.2d 70, 71 (4th Cir. 1984) (“The rule that the objection must be made before trial applies only

when the defect is apparent on the face of the indictment. Otherwise, the objection can be made

at the close of all the evidence.”) (internal citations omitted).

        Nkongho argues that the venue defect was not apparent on the face of the indictment and

thus, she could not have raised this motion until after the close of evidence. In the indictment, the

Government alleged that Nkongho “deposited and caused to be deposited $3,000 in cash at a

Bank of America branch in California into a Bank of America account . . . held by Barbour in

Maryland.” ECF No. 1 at 10. Nkongho argues that it was not apparent that the Government’s

evidence would only show a deposit conducted in California. Further, Nkongho argues that it

was not apparent that the Government’s witness would testify that, to his knowledge, a deposit is

considered concluded at the time and place of the deposit.

        As to timeliness, Nkongho is correct. Specifically, the indictment alleges that Nkongho

“caused to be deposited $3,000” into an account in Maryland. From the indictment, one could

presume that the Government would show that Nkongho took an action either in or tied to

Maryland. At trial, however, a Government witness testified that the bank considered the

transaction completed in California. ECF No. 19 at 6. Because “a defendant does not waive

venue unless the indictment clearly reveals [the venue] defect[,]” Collins, 372 F.3d at 633

(internal quotations and citations omitted), Nkongho did not waive her venue argument.

             B. Proper Venue

        Turning to the merits of Defendant’s venue challenge, Nkongho was charged with money

laundering under 18 U.S.C. § 1956(a). The statute’s venue provision provides that:

                a prosecution for an offense under this section or section 1957 may
                be brought in—

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                 (A) any district in which the financial or monetary transaction is
                 conducted; or
                 (B) any district where a prosecution for the underlying specified
                 unlawful activity could be brought, if the defendant participated in
                 the transfer of the proceeds of the specified unlawful activity from
                 that district to the district where the financial or monetary
                 transaction is conducted.

18 U.S.C. § 1956(i)(1). The venue provision goes on to note that:

                 For purposes of this section, a transfer of funds from 1 place to
                 another, by wire or any other means, shall constitute a single,
                 continuing transaction. Any person who conducts (as that term is
                 defined in subsection (c)(2)) any portion of the transaction may be
                 charged in any district in which the transaction takes place.

18 U.S.C. § 1956(i)(3).

        Before this venue provision was enacted, the Supreme Court explained that “Congress

has provided by statute for offenses ‘begun in one district and completed in another’; such

offenses may be ‘prosecuted in any district in which [the] offense was begun, continued, or

completed.’” United States v. Cabrales, 524 U.S. 1, 7 (1998) (quoting 18 U.S.C. § 3237(a)).

“Money laundering . . . arguably might rank as a ‘continuing offense,’ triable in more than one

place, if the launderer acquired the funds in one district and transported them into another.” Id. at

8. Congress later enacted the venue provision in 18 U.S.C. § 1956(i) as an alternative to the

venue provision in 18 U.S.C. § 3237(a). See Whitfield v. United States, 543 U.S. 209, 217

(2005); United States v. Osuji, 413 F. App'x 603, 611 (4th Cir. 2011).3

        Nkongho argues that because her conduct only took place in California, venue in the

District of Maryland is improper. Specifically, Nkongho contends that the beginning and end of


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  A district court recently explained the enactment of the venue provision and its impact on money laundering cases.
“[W]hile United States v. Cabrales, 524 U.S. 1 (1998), interprets the general venue provisions of 18 U.S.C. §
3237(a), that provision applies ‘[e]xcept as otherwise expressly provided by enactment of Congress.’ Congress, in
response to Cabrales, so expressly provided by amending the money laundering statutes to include broader venue
provisions in Section 1956(i)[.]” United States v. Carryl, 2019 WL 1139501, at *2 (W.D.N.C. Mar. 12, 2019).

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her conduct was making a deposit in California, so she neither “conducted” a financial

transaction in Maryland, see Section 1956(i)(1)(A), nor “participated in the transfer of the

proceeds” to Maryland, see Section 1956(i)(1)(B). In support of this argument, Nkongho

references the testimony of Levy, who answered affirmatively when asked, “[T]his transaction

was completed once the 3,000 was deposited to Bank of America in California?” ECF No. 19 at

8.

         Nkongho’s argument is refuted by the text of the venue provision. Despite Levy’s

testimony, the statute and its definitions control whether venue is proper here. Notably, Section

1956(i)(3) clarifies that a “transfer of funds” from one place to another is a “single, continuing

transaction” for the purposes of the venue provision. 18 U.S.C. § 1956(i)(3). Further, “any

person who conducts (as that term is defined in subsection (c)(2)) any portion of the transaction

may be charged in any district in which the transaction takes place.” Id. This section explains

that the transfer can be made by “wire or any other means[.]” Id. “Conducts” is defined as

“initiating, concluding, or participating in initiating, or concluding a transaction[.]” 18 U.S.C. §

1956(c)(2). A “financial transaction” is defined as “a transaction which in any way or degree

affects interstate or foreign commerce” which involves “movement of funds by wire or other

means” or a “transaction involving the use of a financial institution which is engaged in, or the

activities of which affect, interstate or foreign commerce[.]” 18 U.S.C. § 1956(c)(4)(A)-(B).4

         Nkongho conducted a portion of a financial transaction that concluded in Maryland. She

“initiat[ed]” a financial transaction by depositing money into Barbour’s bank account. This




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  The statute does not define “transfer,” but it is clear from the definition of “financial transaction” that a transfer can
simply be the “movement of funds.” Thus, actually wiring the money is not necessary. See United States v. Dinero
Exp., Inc., 313 F.3d 803, 806 (2d Cir. 2002) (“Because money is inherently fungible, a person is sensibly considered
to have engaged in a ‘transfer’ of money whenever he accepts money in one location and, pursuant to an overall
course of conduct, causes the delivery of related money to another location.”).

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financial transaction was a “movement” of cash from California to a bank account in Maryland.

The transaction then concluded when the money became available to Barbour in Maryland.

Pursuant to Section 1956(i)(3), Nkongho’s conduct was part of a “single, continuing transaction”

that ended in Maryland. Under the venue provision, Nkongho could “be charged in any district in

which the transaction takes place.” 18 U.S.C. § 1956(i)(3).

         Venue was therefore proper in the District of Maryland under the statute. Other courts

have found proper venue with similar facts. See United States v. Carryl, 2019 WL 1139501, at

*2 (W.D.N.C. Mar. 12, 2019) (venue was proper in North Carolina when the defendant “caused

[the victim] to send [the defendant] via wire transfer $350,000 from [North Carolina] to [New

York]” because Section 1956(i) allows “charges in any district where the underlying specified

unlawful activity could be prosecuted if, as is the case as alleged here, the defendant participated

in any way in transferring the funds out of that district.”); United States v. Sanchez, 2018 WL

4760844, at *3 (W.D.N.C. Oct. 2, 2018) (venue was proper because “defendant and her alleged

co-conspirators provided victims specific instructions to initiate the Western Union wire

transfers that were routed and processed in this district and that resulted in the conclusion of the

wire transfers in Costa Rica through receipt by runners who defendant identified for the

victims”); United States v. Louissaint, 2016 WL 3145145, at *12 (W.D.N.Y. June 3, 2016) (“In

this case, the government has charged Louissaint with money laundering offenses based upon the

wire transfer of funds from New York City to Rochester, which is located in the Western District

of New York. Venue is thus appropriate in the Western District of New York because it is a

district in which a portion of the financial transaction occurred.”).


   IV.      CONCLUSION




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       For the reasons discussed, the Motion for Judgment of Acquittal is denied. A separate

Order follows.



Dated: November       5, 2021                                     /s/
                                                           GEORGE J. HAZEL
                                                           United States District Judge




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